






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



ADRIAN MUNOZ,


                            Appellant,


v.


THE STATE OF TEXAS,


                            Appellee.
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No. 08-07-00035-CR



Appeal from the


243rd District Court


of El Paso County, Texas


(TC# 980D00870)



MEMORANDUM OPINION


	Adrian Munoz attempts to appeal from a judgment adjudicating him guilty of aggravated
robbery.  On October 26, 1998, Appellant entered a guilty plea to aggravated robbery and was placed
on deferred adjudication for six years.  Appellant's probationary period was extended twice for a
total of four years.  The State subsequently filed a motion to adjudicate guilt.  Subsequently, the State
filed an amended motion to adjudicate guilt alleging that he had violated his deferred-adjudication
community supervision by committing the offense of unlawful possession of a firearm by a felon as
well as other violations of his probation.  Following a hearing, the trial court, on January 26, 2007, 
granted the State's motion, adjudicated Appellant's guilt, and assessed his punishment at
confinement for ten years.

	In his brief, Appellant raises a single issue alleging that the trial court abused its discretion
in revoking his probation and adjudicating his guilt in that the evidence was insufficient to show he
had committed the offense of felon in unlawful possession of a firearm.  The State filed a motion to
dismiss the appeal because the only issue raised on appeal is a challenge to the trial court's
determination to proceed to adjudication.  Appellant's guilt was adjudicated in a hearing conducted
prior to June 15, 2007.  In such a case, no appeal may be taken from the trial court's determination
to proceed with an adjudication of guilt.  Tex. Code Crim. Proc. Ann. art. 42.12, § 5(b). (1)
  We
therefore grant the State's motion and dismiss the appeal.


						KENNETH R. CARR, Justice


April 10, 2008


Before Chew, C.J., McClure, and Carr, JJ.


(Do Not Publish)

1.   In 2007, the Legislature amended Article 42.12, § 5(b) to provide for a right of appeal from the trial
court's decision to adjudicate.  Act of May 23, 2007, 80th Leg., R.S., ch. 1308, § 5, 2007 Tex. Gen. Laws 4395,
4397.  However, the amendment is prospective and applies to an adjudication hearing conducted on or after the
effective date of the legislation, June 15, 2007, regardless of when the adjudication of guilt was originally deferred or
when the offense giving rise to the grant of deferred adjudication community supervision was committed.  Act of
May 23, 2007, 80th Leg., R.S., ch. 1308, § 53, 2007 Tex. Gen. Laws 4395, 4413.


